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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE: MARC J. RANDAZZA MISC. BUSINESS DOCKET

No.: 18-mc-91490-FDS

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ORDER OF TERM SUSPENSION/STAYED

WHEREAS, on March 28, 2019, the United States Patent and Trademark Office has
cause to file with this Court a certified copy of an Order of Term Suspension/Stayed with respect
to Attorney MARC J. RANDAZZA;

le WHEREAS, pursuant to Local Rule 83.6.9(b), on September 4, 2019,
“Notice of Filing of Disciplinary Action” and “Order to Show Cause”
were filed in this Court and copies sent (along with a copy of the Local
Rule) via certified mail to MARC J. RANDAZZA;

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WHEREAS, on September 19, 2019, Attorney James S. Bolan on behalf of
MARC J. RANDAZZA filed a Response to Order to Show Cause consenting
to reciprocal discipline.

WHEREFORE, pursuant to Local Rule 83.6.9(c), this Court hereby imposes the
identical discipline, and MARC J. RANDAZZA is hereby suspended from this Court for a
period of twelve (12) months, with the execution of the suspension stayed for a period of
eighteen (18) months, retroactive to October 10, 2018, conditioned upon the lawyer’s successful
compliance with the Order entered in the Supreme Court of Nevada.

Spb 2b, 2019 Mluke

Date F, Dennis Saylor, District Judge

 

 
